
PER CURIAM.
We affirm appellant’s conviction for aggravated assault. We reject appellant’s contention that fundamental error occurred when the court received the jury verdict in his absence. By his failure to notify either the bailiff or his lawyer of his whereabouts during a recess, appellant voluntarily absented himself from the presence of the court within the meaning of Florida Rule of Criminal Procedure 3.180(c). Appellant’s attorney did not object to the taking of the verdict in appellant’s absence. Nor did appellant attempt to make any record in the trial court of his reason for not being present so as to demonstrate that he did not voluntarily absent himself under the rule.
WARNER, POLEN and GROSS, JJ., concur.
